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17                               UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                       OAKLAND DIVISION

20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )          CORRECTION OF DKT. NO. 514-2
                      Plaintiffs,
22                                      )
                                        )          EXHIBITS A THROUGH F TO
23           v.                         )          DECLARATION OF MICAH G. BLOCK
                                        )          IN SUPPORT OF PLAINTIFFS’
24    NSO GROUP TECHNOLOGIES LIMITED )             MOTION TO EXCLUDE THE EXPERT
      and Q CYBER TECHNOLOGIES LIMITED, )          TESTIMONY OF TERRENCE
25                                      )          MCGRAW
                      Defendants.       )
26                                      )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
27                                      )          Action Filed: October 29, 2019
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